911 F.2d 726Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Theodore Lewis WILLIAMS, Jr., Plaintiff-Appellant,v.Edward W. MURRAY, Director, Virginia Department ofCorrections, Defendant-Appellee.
    No. 90-7050.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 9, 1990.Decided July 20, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  J. Calvitt Clarke, Jr., District Judge.  (C/A No. 89-826-N)
      Theodore Lewis Williams, Jr., appellant pro se.
      Robert B. Condon, Assistant Attorney General, Richmond, Va., for appellees.
      E.D.Va.
      DISMISSED.
      Before SPROUSE and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Theodore Lewis Williams, Jr. seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion adopting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Williams v. Murray, CA-89-826-N (E.D.Va. Apr. 19, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    